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ACTING UNITED STATES TRUSTEE
UNITED STATES BANKRUPTCY COURT
Southern District of California
In re: Case No. 18-06044-LT11
JESSE WAYNE DAWBER, Ki ointly Administered with Case No.
9-00293-LT11]

Debtor in Possession.

UNITED STATES TRUSTEE’S
OBJECTION TO CHAPTER 11
TRUSTEE’S APPLICATION TO
inchs EMPLOY SHERWOOD PARTNERS
JESSE DAWBER, an individual, INC., AS FINANCIAL ADVISORS

Case No. 18-06044-LT11

 

CLASS WAR, INC., a California
Corporation,

Case No. 19-00293-LT11
Debtors.

Affects Class War only.

| | Affects both Debtors.
x] Affects Jesse Dawber only.

 

 

 

COMES NOW, the Acting United States Trustee (“UST”) and submits the
following objection to the Application of Chapter 11 Trustee (“Trustee”) to
Employ Sherwood Partners, Inc., (“Sherwood”) as Financial Advisors

(“Application”). In support thereof, the UST provides as follows:

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INTRODUCTION

The United States Trustee objects to the Application because: 1) the scope of
employment is broad and vague, and may include services that are trustee core
duties; 2) the $550 hourly rate of David Johnson for accounting support appears
excessive, and 3) the $300 to $500 per hour rates noted for “additional Sherwood
personnel” fail to identify the individuals and their hourly rates and a recitation of
their experience to support the requested hourly rate.

POINTS AND AUTHORITIES

1. | The Court can take judicial notice of the fact that the instant case
(now consolidated with the Class War chapter 11 case) has incurred significant
administrative costs given the number of professional employed in both cases. In
light of the effect those existing costs will have on any future distributions to
unsecured creditors, the UST is concerned that the mandate for any future
professionals employed in the case be necessary, sufficiently described, and
tailored to the needs of the case.

2. The UST does not dispute the fact that the Trustee is entitled to hire
an accountant or other professional persons to assist in carrying out the Trustee’s
duties. 11 U.S.C. §327(a). “Section 327 allows trustees to hire professionals
to perform services requiring special expertise, beyond that expected of an
ordinary trustee.” Jn re Garcia 335 B.R. 717, 725 (9" Cir. BAP 2005).

3. The UST, however, is concerned that it be clear at the outset of
employment, that the services performed by Sherwood do not include duties the
Trustee is expected to perform pursuant to 11 U.S.C. §1106. “[A]ccountant may
not receive compensation for the performance of any trustee's duties that are
generally performed by a trustee without the assistance of an attorney or

accountant.” In re Garcia 335 B.R. at 725, citing U.S. Trustee v. Boldt (In re

 
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Jenkins), 188 B.R. 416, 420 (9" Cir. BAP 1995); aff'd 130 F.3d 1335 (9%
Cir.1997).

4. The Application at 3:23-28 and 4:1-23 ({{10a-g) sets out the scope of
employment. There are sub-paragraphs with descriptions that can be construed as
vague:

410.a “evaluating all of the Debtor’s and the Debtor’s bankruptcy

estate’s assets and debts[.]”

410.b “working with the Trustee’s bankruptcy counsel and the Trustee

to insure compliance with the requirements of the Bankruptcy Court,

Bankruptcy Code, Bankruptcy Rules and the OUST[.}”

410.g. “performing any other services which may be appropriate in

connection with its role as financial advisor for the Trustee.”
Additionally, 10.d. refers to the preparation of reports that could be construed as a
trustee core duty.

5. The concern raised here by the UST is two-fold. First, to clarify the
scope of employment (as best as possible) to avoid running afoul of established
case law that prohibits compensation for performing trustee duties. And, second, to
the extent the Trustee wishes to have flexibility so that Sherwood can provide
needed services that may not be specifically known at this time, that the UST
reserves all rights to object to future fees. That it be clear that any order approving
employment and the scope, however described, does not serve to waive the right to
raise objection to any services provided at the fee application stage.

6. In addition to the above concerns regarding the scope of employment,
the UST has two concerns regarding hourly rates. First, the hourly rate for David
Johnson at $550 is significant. However, certain given tasks for which Sherwood
may seek compensation may not warrant such a high rate. For example, if Johnson

provides accounting support that does not require a level of expertise

 
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commensurate with a professional who charges $550 per hour, the firm should use
professionals that bill at a rate commensurate with the task at hand.

7. The second concern is that the Application (at 5:7-8) notes that
“additional Sherwood personnel” may provide services in the case at rates ranging
between $300 and $500 per hour. Yet, the Application does not provide the names
of those individuals or their experience, such that the UST might evaluate the
reasonableness of their proposed hourly rate. The UST requests that the Court
require disclosure of this information before final adjudication of the proposed
employment Application.

WHEREFORE, the United States Trustee respectfully requests that this
Court deny the Application of Chapter 11 Trustee to Employ Sherwood Partners,

Inc., as Financial Advisors to the extent stated herein.

Respectfully submitted,

TIFFANY L. CARROLL

ACTING UNITED STATES TRUSTEE
Dated: September 11, 2019 By: /s/ David A. Ortiz

David A. Ortiz

Trial Attorney for the
Acting United States Trustee

 
